Case 08-13141-BLS Doc 8914-1 Filed 05/13/11 Page 1of6

EXHIBIT A

{00516962;v1}
Case 08-13141-BLS Doc 8914-1 Filed 05/13/11 Page 2 of 6

CONFIDENTIALITY AGREEMENT

This Confidentiality Agreement (“Agreement”) is entered into as of May __, 2011 by and
between Akin Gump Strauss Hauer & Feld LLP (“Akin Gump”) and Friedman Kaplan Seiler &
Adelman LLP (“Friedman Kaplan” and together with Akin Gump, the “Requesting Party”) and
Zuckerman Spaeder LLP (“Zuckerman”) and Landis Rath & Cobb LLP (“Landis” and together
with Zuckerman, the “Producing Party”; and the Requesting Party together with the Producing
Party, the “Parties,” or singly a “Party”), as co-counsel to the Official Committee of Unsecured
Creditors (the “Creditors” Committee”).

WITNESSETH

WHEREAS, Landis and Zuckerman on behalf of the Creditors’ Committee filed
Adversary Proceeding No. 10-54010 (KJC) on November 1, 2010 (the “Adversary Proceeding”)
in the bankruptcy cases filed under Chapter 11 of the Bankruptcy Code by the Tribune Company
and certain of its affiliates (collectively, the “Debtors”) titled In re Tribune Co., et al., Case No.
08-13141 (KJC) (Jointly Administered), in the United States Bankruptcy Court for the District of
Delaware (the “Bankruptcy Court”);

WHEREAS, the Bankruptcy Court has granted parties represented by the Requesting
Party leave to commence civil actions to assert certain claims under applicable state law (the
“State-Law Actions”);

WHEREAS, the Requesting Party served the Producing Party with a Subpoena with a
request for documents dated April 29, 2011 (the “Subpoena”), in connection with the Adversary
Proceeding and in anticipation of the State-Law Actions;

WHEREAS, in responding to the Subpoena, the Producing Party will provide the
Requesting Party with documents, as that term is defined in the subpoena (“Documents”),
including Documents that contain or constitute responsive, nonpublic information or confidential
or proprietary business, technical or financial information, including nonpublic or confidential
information received by the Producing Party in connection with the Adversary Proceeding
(“Confidential Information’);

WHEREAS, the Parties to this Agreement acknowledge the importance of preserving the
confidentiality of the Confidential Information and Confidential Information that is designated
“Highly Confidential—Attomeys’ Eyes Only” (as defined below) and agree to abide by this
Agreement with respect thereto;

NOW, THEREFORE, the Parties hereby agree as follows:

1. The term “Confidential Information” shall also include any notes, summaries,
compilations, memoranda, minutes or similar materials disclosing or discussing Confidential
Information. The Confidential Information shall be furnished or otherwise disclosed or made
known to the Requesting Party and its local counsel subject to the terms and conditions of this
Agreement. This Agreement and the obligations of the Requesting Party shall apply to all
Confidential Information regardless of whether it is provided by the Producing Party or its

{00516962;v1}
Case 08-13141-BLS Doc 8914-1 Filed 05/13/11 Page 3 of 6

counsel, consultants, accountants, experts, auditors, examiners, financial advisors or other agents
or professionals (collectively, “Advisors”).

2. All Documents that the Producing Party produces in response to the Subpoena,
including Documents identifying parties who subsequently may be named as parties in the State-
Law Actions, will be used solely in connection with the State-Law Actions and related
proceedings. All Confidential Information furnished, disclosed or made known to the
Requesting Party or its local counsel by the Producing Party or its Advisors after execution of
this Agreement, whether tangible or intangible, and in whatever medium provided, including, but
not limited to, in written form, orally, or through any electronic, facsimile or computer-related
communication, whether disclosed intentionally or unintentionally, and all information generated
by the Requesting Party or its local counsel or any of their Advisors that contains, reflects or is
derived from the Confidential Information, shall be used by the Requesting Party and its local
counsel solely and exclusively in connection with the State-Law Actions and related proceedings.
The Requesting Party and its local counsel and each of their Advisors shall each carry out its
obligations hereunder using a reasonable degree of care.

3. The Producing Party may designate as “Highly Confidential—Attorneys’ Eyes
Only” those Documents that contain Confidential Information that is competitively sensitive
and/or proprietary to the Producing Party, the Debtors or the party from whom the Producing
Party received such information, or from which competitively sensitive or proprietary
information belonging to the Producing Party, the Debtors or the party from whom the Producing
Party received such information could be derived. This includes, without limitation: (a)
Documents containing information relating to confidential financial and/or business operations,
business ventures, strategic plans, processes, designs, applications or trade secrets; and/or (b)
information required to be maintained confidential by federal, state or local laws, rules,
regulations or ordinances governing or relating to privacy rights, including any and all personally
identifiable financial information and nonpublic personal information of customers and
consumers. In addition, the Producing Party may designate as “Confidential” those Documents
that it believes in good faith constitute or contain other categories of nonpublic information that
is competitive or sensitive in nature.

4. The Requesting Party and its local counsel shall not provide Documents
designated “Highly Confidential—-Attorneys’ Eyes Only” to any person or entity other than to:
(a) attorneys, clerical, paralegal and secretarial staff employed by the Requesting Party or its
local counsel, who shall be bound by this Agreement; or (b) Advisors of the Requesting Party or
its local counsel who agree to be bound by this Agreement by executing the attached Exhibit A.

5. Any Document produced by the Producing Party to the Requesting Party may be
provided to Aurelius Capital Management, LP (“Aurelius”), provided that Aurelius agrees to be
bound by this Agreement by executing the attached Exhibit A.

6. Notwithstanding any other provision in this Agreement: (a) parties who have been
identified in Documents produced in response to the Subpoena may be publicly named as parties
in the State-Law Actions or related proceedings, provided, however, that any such publicly-
named party shall not in any way be publicly associated, linked, or otherwise identified as having
been at any point in time related to or a customer of the party that provided to the Producing
Party the information about such publicly-named party; and (b) information concerning the

{00516962:v1}
10
Case 08-13141-BLS Doc 8914-1 Filed 05/13/11 Page 4of 6

timing and amount of payments to such parties may be included in any pleading filed by the
Requesting Party or its local counsel in connection with the State-Law Actions or related
proceedings, provided that the Requesting Party or its local counsel takes the necessary steps to
file any such pleading under seal or otherwise prevent the public release of such information.

7. Notwithstanding any other provision in this Agreement, nothing herein shall
prevent disclosure of any information: (a) if the Requesting Party receives consent to disclose
such information from either the Producing Party, the person from whom the producing party
received such information, or the customer or client of the person from whom the Producing
Party received such information; (b) that is in the public domain at the time of disclosure, was
previously in the public domain, or becomes part of the public domain through no fault of the
Producing Party or the Requesting Party; or (c) if the Requesting Party lawfully receives such
information at a later date from a third party without restriction as to disclosure, provided such
third party has the right to make the disclosure to the receiving party.

8. If the Requesting Party objects to the designation of any Documents as “Highly
Confidential—Attorneys’ Eyes Only” or “Confidential,” or seeks a waiver of such desi gnation,
the Requesting Party will initially contact the undersigned counsel to the Producing Party in an
effort to resolve the dispute and, if that effort is unsuccessful, may apply to the Bankruptcy Court
for relief. Absent a written waiver or agreement from the Producing Party or an order of the
Bankruptcy Court to the contrary, Documents designated “Highly Confidential—Attorneys’ Eyes
Only” or “Confidential” may be shown only to the Parties specified above.

9. Should access to Documents stamped “Highly Confidential—Attorneys’ Eyes
Only” or “Confidential” be sought from the Requesting Party or its local counsel or any Advisor
retained by any of them by any person, pursuant to subpoena or other legal process under
applicable law, rule, or regulation, the Requesting Party or its local counsel, as appropriate, will,
unless prohibited by applicable law or regulation: (a) promptly notify counsel to the Producing
Party in writing of the requested access; (b) prior to producing any such Documents, provide the
Producing Party ten (10) business days to seek a court order preventing or limiting the
production of such Documents; and (c) use best efforts to enter into a confidentiality agreement
with the person seeking access to such Documents that provides the Producing Party
substantially the same protections as this Confidentiality Agreement.

10. All Confidential Information, unless otherwise specified in writing, may be used
as provided herein, but shall remain the property of the Producing Party. Ninety (90) days
following the closing of all State-Law Actions and related proceedings, each recipient of
Confidential Information agrees to promptly destroy all Confidential Information, including,
without limitation, all documents, reports and exhibits provided by or on behalf of the Producing
Party and all working papers containing any Confidential Information or extracts therefrom. In
addition, and subject to the same proviso as immediately above, each recipient agrees at that time
to destroy all copies of any notes, analyses, compilations, studies or other documents that it or its
Advisors prepared containing or reflecting any Confidential Information. If requested by the
Producing Party, after destruction each recipient of Confidential Information will deliver a
certificate executed by an appropriate officer of the recipient certifying that all such materials
have been destroyed.

{00516962:v1}
11
Case 08-13141-BLS Doc 8914-1 Filed 05/13/11 Page 5of6

11. The Requesting Party acknowledges that irreparable damage would occur to the
Producing Party if any of the provisions of this Agreement were not performed in accordance
with their specific terms or were otherwise breached and that remedies at law for any actual or
threatened breach by it of the covenants contained in this Agreement shall be inadequate and that
the Producing Party will be entitled to equitable relief, including injunction and specific
performance, in the event of any breach of the provisions of this Agreement, in addition to all
other remedies available to the Producing Party at law or in equity. During the pendency of the
State-Law Actions and related proceedings, all Parties hereto consent to the jurisdiction and
venue of the Bankruptcy Court with respect to any controversy or claims arising out of or related
to this Agreement or the use or disclosure or rights pertaining to Confidential Information. Upon
conclusion of all State-Law Actions and related proceedings, all Parties consent to the
jurisdiction and venue of the federal and state courts located in the State of Delaware with
respect to any such controversy or claims. EACH PARTY HERETO HEREBY IRREVOCABLY
WAIVES ANY AND ALL RIGHT TO TRIAL BY JURY IN ANY LEGAL PROCEEDING
ARISING OUT OF OR RELATING TO THIS AGREEMENT.

12. The inadvertent production of privileged information by the Producing Party shall

not constitute a waiver of any applicable privilege and the Requesting Party and its local counsel
will return to the Producing Party any such materials inadvertently produced.

Executed this _— day of May, 2011.

AKIN GUMP STRAUSS HAUER & FELD LLP

By:

FRIEDMAN KAPLAN SEILER & ADELMAN LLP

By:

LANDIS RATH & COBB LLP

By:

ZUCKERMAN & SPAEDER LLP

By:

{00516962;v1}
12
Case 08-13141-BLS Doc 8914-1 Filed 05/13/11 Page 6 of 6

EXHIBIT A

In connection with the Confidentiality Agreement (the “Agreement”) dated May __, 2011
between Akin Gump Strauss Hauer & Feld LLP (“Akin Gump”) and Friedman Kaplan Seiler &
Adelman LLP (“Friedman Kaplan” and together with Akin Gump, the “Requesting Party”) and
Zuckerman Spaeder LLP (“Zuckerman”) and Landis Rath & Cobb LLP (“Landis” and together
with Zuckerman, the “Producing Party”; and the Requesting Party together with the Producing
Party, the “Parties,” or singly a “Party”), as co-counsel to the Official Committee of Unsecured
Creditors (the “Creditors” Committee”), the undersigned hereby agrees as follows (capitalized
terms not defined herein shall have the meanings ascribed to those terms in the Agreement):

1. The undersigned has (1) been provided with a copy of the Agreement, (11) read the
Agreement, (i11) had an opportunity to review the Agreement with counsel, and (iv) been
authorized to execute this Exhibit A to the Agreement.

2. To the extent that the Requesting Party or its local counsel provides the
undersigned with documents designated “Confidential” or “Highly Confidential—Attorneys’
Eyes Only” produced pursuant to the Agreement and the Subpoena, the undersigned agrees to be
bound by the Agreement and that such documents shall only be used in connection with the
State-Law Actions and related proceedings and shall not be provided to anyone other than as
permitted under the Agreement.

3. Should access to Documents designated “Confidential” or “Highly Confidential—
Attorneys’ Eyes Only” be sought from the undersigned by any person, pursuant to subpoena or
other legal process under applicable law, rule, or regulation, the undersigned agrees that, unless
prohibited by applicable law or regulation, it will: (a) promptly notify counsel to the Producing
Party in writing of the requested access; and (b) prior to producing such Documents, provide the
Producing Party with a reasonable opportunity to seek a court order preventing or limiting the
production of such Documents.

4. The undersigned agrees that the inadvertent production of privileged information

by the Producing Party shall not constitute a waiver of any applicable privilege and that it will
return to the Producing Party any such materials inadvertently produced.

Agreed and Accepted: May __, 2011

(Company Name)

{00516962;v1}
13
